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 4
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 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,   )                 CASE NO. 1:07-CR-316 LJO
                                 )
11        Plaintiff,             )
                                 )                 ORDER EXCUSING
12       v.                      )                 PERSONAL PRESENCE
                                 )                 OF DEFENDANT
13   LYNN TRUONG,                )
                                 )
14               Defendant.      )
     ____________________________)
15
              It is hereby ordered that defendant Lynn Truong be excused from personal
16
     presence at the hearing for status conference calendared for September 23, 2011.
17
              Ms. Truong is ordered to appear at all future hearing dates unless excused
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     by written order of this Court.
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21
     IT IS SO ORDERED.
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     Dated:     September 19, 2011            /s/ Lawrence J. O'Neill
23   b9ed48                               UNITED STATES DISTRICT JUDGE
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